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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS EARPLUG                  )
 PRODUCTS LIABILITY LITIGATION                  )   Case No. 3:19-md-2885
                                                )
 This document relates to:                      )   Judge M. Casey Rodgers
                                                )   Magistrate Judge Gary R. Jones
 BRANDON FULLER,                                )
                                                )   MASTER SHORT FORM
             PLAINTIFF,                         )   COMPLAINT AND JURY TRIAL
                                                )   DEMAND
 v.                                             )
                                                )   Civil Action No.
 3M COMPANY, 3M OCCUPATIONAL                    )
 SAFETY LLC, AERO HOLDING LLC,                  )
 AERO INTERMEDIATE LLC, AERO                    )
 LLC, and AERO TECHNOLOGIES LLC,                )
                                                )
             DEFENDANTS.                        )
                                                )
                                                )
                                                )

         MASTER SHORT FORM COMPLAINT AND JURY TRIAL DEMAND

      Plaintiff incorporates by reference the Master Long Form Complaint and Jury Trial

Demand filed in In re: 3M Combat Arms Earplug Products Liability Litigation on September

20, 2019. Pursuant to Pretrial Order No. 16, this Short Form Complaint adopts the

allegations, claims, and requested relief as set forth in the Master Long Form Complaint.

As necessary herein, Plaintiff may include: (a) additional claims and allegations against

Defendants, as set forth in Paragraphs 10 and 11 or an additional sheet attached hereto;



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and/or (b) additional claims and allegations against other Defendants not listed in the

Master Long Form Complaint, as set forth in Paragraphs 12 and 13 or an additional sheet

attached hereto.

   Plaintiff further alleges as follows:

   I.        DEFENDANTS

          1. Plaintiff names the following Defendants in this action:

          __x__ 3M Company

          __x__ 3M Occupational Safety LLC

          __x__ Aero Holding LLC

          __x__ Aero Intermediate LLC

          __x__ Aero LLC

          __x__ Aero Technologies, LLC

   II.       PLAINTIFF

          2. Name of Plaintiff:   BRANDON FULLER

          3. Name of spouse of Plaintiff (if applicable to loss of consortium claim: N/A

          4. Name and capacity (i.e., executor, administrator, guardian, conservator, etc.) of

             other Plaintiff, if any: N/A

          5. State of residence of Plaintiff: TX

   III.      JURISDICTION

          6. Basis for jurisdiction (diversity of citizenship or other): Other


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      7. Designated forum (United States District Court and Division) in which venue

         would be proper absent direct filing: United States District Court for the

         District of Minnesota

IV.      USE OF DUAL-ENDED COMBAT ARMS EARPLUG

      8. Plaintiff used the Dual-Ended Combat Arms Earplug:

         __x__      Yes

         _____      No

V.       INJURIES

      9. Plaintiff alleges the following injuries and/or side effects as a result of using the

         Dual-Ended Combat Arms Earplug:

         _ X____    Hearing loss

         _____      Sequelae to hearing loss

         _ X____    Other: _____Tinnitus_____________________________

VI.      CAUSES OF ACTION

      10. Plaintiff adopts in this Short Form Complaint the following claims asserted in

         the Master Long Form Complaint and Jury Trial Demand, and the allegations

         with regard thereto as set forth in the Master Long Form Complaint and Jury

         Trial Demand:

         __x__      Count I – Design Defect – Negligence

         __x__      Count II – Design Defect – Strict Liability


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   __x__     Count III – Failure to Warn – Negligence

   __x__     Count IV – Failure to Warn – Strict Liability

   __x__     Count V – Breach of Express Warranty

   __x__     Count VI – Breach of Implied Warranty

   __x__     Count VII – Negligent Misrepresentation

   __x__     Count VIII – Fraudulent Misrepresentation

   __x__     Count IX – Fraudulent Concealment

   __x__     Count X – Fraud and Deceit

   __x__     Count XI – Gross Negligence

   __x__     Count XII –Negligence Per Se

   __x__     Count XIII – Consumer Fraud and/or Unfair Trade Practices

   _____     Count XIV – Loss of Consortium

   __x__     Count XV – Unjust Enrichment

   __x__     Count XVI – Punitive Damages

   __x___    Count XVII – Other

11. If additional claims against the Defendants identified in the Master Long Form

   Complaint and Jury Trial Demand are alleged in Paragraph 10, the facts

   supporting these allegations must be pleaded. Plaintiff asserts the following

   factual allegations against the Defendants identified in the Master Long Form

   Complaint and Jury Trial Demand: N/A


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       12. Plaintiff contends that additional parties may be liable or responsible for

          Plaintiff’s damages alleged herein. Such additional parties, who will be

          hereafter referred to as Defendants, are as follows (must name each Defendant

          and its citizenship): N/A

       13. Plaintiff asserts the following additional claims and factual allegations against

          other Defendants named in Paragraph 12: N/A

   WHEREFORE, Plaintiff prays for relief and judgment against Defendants and all such

further relief that this Court deems equitable and just as set forth in the Master Long Form

Complaint and Jury Demand and any additional relief to which Plaintiff may be entitled.

Dated: January 26, 2022                          Respectfully Submitted,

                                                 PAUL LLP
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